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                              UNITED STATES DISTRICT COURT
                                   DISTRICT OF MAINE


 UNITED STATES,                                   )
                                                  )
         v.                                       )       1:15-cr-00040-JAW-3
                                                  )
 JERMAINE MITCHELL,                               )
                                                  )
                 Defendant                        )


              RECOMMENDED DECISION ON MOTION FOR NEW TRIAL

         On June 27, 2016, at the conclusion of a five-day trial, a jury convicted Defendant

 Jermaine Mitchell of conspiracy to distribute and possess with intent to distribute 280

 grams or more of cocaine base, in violation of 21 U.S.C. §§ 841(a)(1), 841(b)(1)(A), and

 846. The jury found both that Defendant was part of a conspiracy to distribute cocaine

 base and that Defendant’s conduct involved 280 grams or more of cocaine base. (Jury

 Verdict, ECF No. 520.)

         The matter is before the Court on Defendant’s Motion for New Trial and for

 Indicative Ruling.1 (ECF No. 719.) Through his motion, Defendant contends that new

 evidence impugns the veracity of Rodrigo Ramirez, a witness who testified about

 Defendant’s involvement in the conspiracy.




 1
   On February 16, 2017, Defendant appealed from the Court’s judgment. (Notice of Appeal, ECF No. 693.)
 The appeal remains pending before the First Circuit Court of Appeals; Defendant/Appellant Mitchell’s
 reply brief is due March 5, 2018. (First Circuit docket # 17-1183.) While the Court could only issue an
 indicative ruling if the Court concluded Defendant’s motion for new trial had merit, the Court can deny the
 motion despite the pending appeal. F.R.A.P. 12.1; Fed. R. Civ. P. 33, 37(a).
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                                               BACKGROUND

         On February 12, 2015, the grand jury returned a three-count indictment that charged

 eleven defendants with one or more of the following offenses: conspiracy to distribute

 cocaine base, use or maintenance of a drug involved premises, and conspiracy to violate

 federal firearms laws. (ECF No. 3-1.) Defendant was charged with conspiracy to distribute

 cocaine base.       The conspiracy was alleged to exist among Defendant Mitchell, co-

 Defendants Jeffrey Benton, Christian Turner, Willie Garvin, Torrence Benton, Jeremy

 Ingersoll-Meserve, Jacqueline Madore, David Chaisson, Akeen Ocean, Burke Lamar, and

 Wendell White, and certain others, including Rodrigo Ramirez.2

         The evidence at trial demonstrated that Defendant and others were involved in a

 drug distribution operation for approximately three years (2010 – 2013), which activity

 included the distribution in and around the Bangor area of cocaine base that was obtained

 in New Haven, Connecticut. Rodrigo Ramirez testified on behalf of the Government as a

 cooperating witness. Mr. Ramirez has a notable criminal history. In addition to his drug

 distribution activity, Mr. Ramirez testified that he participated in a New Haven robbery in

 2011 that resulted in a homicide.3 (ECF No. 636 at 132 – 33.)




 2
  During the trial, as reflected by the trial transcripts referenced herein, the individuals involved in the drug
 activity were often referred to by a known nickname. Defendant is referred to as Blood, Melo, or MB, Mr.
 Benton as Fresh, Tallman, or JT, Mr. Turner as P, Pistols, CT, Mr. Ocean as A or Alex, and Mr. Ramirez
 as Rico.
 3
   According to his trial testimony, Mr. Ramirez drove the car, but did not enter the premises at which the
 robbery occurred. The Court instructed the jury that the Government did not contend Defendant had any
 connection to the homicide, and that the jury must not draw any adverse inference against Defendant that
 he had any involvement in the homicide. (ECF No. 636 at 139 – 40.)


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 1.      The New Evidence

         In support of his motion, Defendant cites statements Mr. Ramirez made to law

 enforcement, after Defendant’s conviction, in connection with a homicide/heroin

 distribution investigation conducted by law enforcement in Connecticut.                      Defendant

 contends that a new trial is warranted because Mr. Ramirez advised law enforcement that

 he had been untruthful in some of the statements he made regarding crimes committed in

 Connecticut, which disclosure generates further questions about Mr. Ramirez’s

 credibility.4

 2.      Trial Evidence of Defendant’s Guilt

         At Defendant’s trial, Mr. Ramirez testified that he distributed drugs in the Bangor

 area for approximately three years, and that others who participated in the same drug

 distribution group included Defendant, Mr. Benton, Mr. Turner, and Mr. Ocean. (ECF No.

 636 at 129 – 30.) According to his testimony, Mr. Ramirez came to Maine in 2011 after

 the robbery-turned-homicide incident in Connecticut, when Mr. Benton recommended to

 him that he move to Maine to avoid trouble in New Haven and so he could assist with

 distributing cocaine base in Maine. (Id. at 142 – 46.) Mr. Benton introduced Mr. Ramirez

 to Defendant in New Haven, and Mr. Ramirez traveled to Maine with Defendant a few

 days later. (Id. at 147.) On their initial arrival in Maine, they went to “Amy’s house in




 4
  In response to Defendant’s motion, the Government filed under seal a copy of a report written in February
 2017, which report contains the new evidence upon which Defendant bases his motion. Defendant is
 evidently aware of the subject of the report because the Government informed his counsel of the report.


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 Old Town.”5 (Id. at 149.) Thereafter, Defendant arranged for Mr. Ramirez to stay, initially,

 “at this lady Fern’s house,” but soon relocated Mr. Ramirez to “a lady named Christie’s

 house” in Bangor.6 (Id. at 148, 159.)

        Mr. Ramirez testified that Defendant was directly involved in the Maine-based drug

 distribution conspiracy in that Defendant resupplied the cocaine base when inventory was

 low, set the price, determined how dealers would be compensated for their efforts, and

 collected the revenue that Mr. Ramirez gathered for him. (Id. at 150 – 163.) Mr. Ramirez,

 Defendant and others periodically arranged for money to be sent back to New Haven to

 Mr. Benton. (Id. at 170 – 71.) According to Mr. Ramirez, he severed his association with

 Defendant in 2013, because he was no longer getting along with Defendant and another

 conspirator. (Id. at 180.)

        In addition to describing the conspiracy, Mr. Ramirez provided testimony relevant

 to the drug quantity. Mr. Ramirez testified that he was located at Christie’s apartment for

 a period of months and that Defendant supplied him with 12 packages containing half-gram

 or one-gram “rocks” two or three times per day, on average. (Id. at 165, 168.) Mr. Ramirez

 also testified that revenue from the sales was nearly $20,000 each week, with one-gram

 packages selling for between $75 and $100, and half-gram packages selling for $50. (Id.

 at 169 – 70.) On cross-examination, counsel explored Mr. Ramirez’s criminal history,


 5
   “Amy’s house” was a residence shared by Defendant Mitchell and Amy Hakola, located on Charles Street
 in Orono. During the trial, witnesses referred to the residence as Amy’s house and the Charles Street
 residence. Some witnesses referred to the home as being in Old Town. The boundary between Orono and
 Old Town is not far from the residence.
 6
  Eventually, Mr. Ramirez would relocate to both “Jeremy’s house” and “Wendell’s house,” where his drug
 distribution activity continued. (ECF No. 636 at 173.)

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 prior instances in which he was untruthful to law enforcement, and the fact that he was

 testifying with the hope of lenient treatment by the Government. (Id. at 192, 197 – 198,

 211 – 219; ECF No. 637, at 244 – 79.)

         Mr. Ramirez was not the only government witness to connect Defendant to Mr.

 Benton, or Defendant to dealers who aided the conspiracy’s drug distribution efforts. Mr.

 Ramirez was also not the only source regarding the drug quantity. Fern Dowling testified

 that Defendant asked her to sell crack for him and that she did so for an unspecified time

 prior to being introduced to Mr. Ramirez. (Id. at 335, 337 – 40.) Ms. Dowling stated she

 travelled to Connecticut with Defendant and transported two ounces (approximately 56

 grams) of crack cocaine to Maine from Connecticut. (Id. at 341 – 42.) Ms. Dowling sold

 crack cocaine to approximately 20 people in the Old Town and Bangor area. (Id. at 345.)

 She estimated that she sold for Defendant for “a couple years” on a daily basis, with a

 “good day” consisting of sales of “like between 3 – like 5 and 6 grams a day.” (Id. at 351.)

 Ms. Dowling further testified that she also obtained crack cocaine from Mr. Ramirez, while

 Defendant operated out of the residence of another conspirator, i.e., when Mr. Ramirez

 continued to distribute crack on behalf of Defendant.7 (Id. at 350.)


 7
   Ms. Dowling also sold crack cocaine that she obtained from Mr. Turner. (ECF No. 637 at 347.) She
 testified that she thought Mr. Ramirez and Mr. Turner were not working together and that Defendant “flew
 by himself.” (Id. at 347, 374 – 75.) However, multiple other witnesses connected Mr. Ramirez, Mr. Turner,
 and Defendant as members of the same operation. Brynn McLeod testified that she saw both Mr. Ramirez
 and Mr. Turner at the Charles Street home in Orono, i.e., the residence Defendant shared with Ms. Hakola;
 that it was her impression that Mr. Ramirez and Mr. Turner worked together because orders placed with
 one would sometimes be filled by the other; and that both men sold on occasion out of the Charles Street
 residence and a residence on Sanford Street in Bangor. (ECF No. 611 at 605, 608 – 609, 617.) Similarly,
 Jeremy Hunter testified that orders placed over the phone with Mr. Ramirez would sometimes be filled by
 Mr. Turner, that the two were together, and that both men showed up to deliver one or more orders Mr.
 Hunter placed over the phone. (Id. at 632, 638.) Jeremy Ingersoll-Meserve provided similar testimony.
 (ECF No. 612 at 726.)

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         Christie Thetonia also testified that she distributed crack cocaine for Defendant.

 According to Ms. Thetonia, she met Defendant after going to Ms. Dowling and to a person

 named Kizzy to purchase crack cocaine. Ms. Thetonia reported that Defendant supplied

 the crack cocaine to Ms. Dowling and Kizzy, on more than one occasion when she was

 present. (Id. at 432 – 33.) Eventually, Ms. Thetonia obtained crack cocaine directly from

 Defendant. (Id. at 433, 435.) For a period of two or three months, she obtained 2 or 3

 grams on many days. (Id. at 436.) She estimated that during this period she obtained 100

 grams from Defendant. (Id.) Subsequently, Defendant arrived at Ms. Thetonia’s residence

 with Mr. Ramirez. Mr. Ramirez stayed at Ms. Thetonia’s residence and held crack cocaine

 that she helped to distribute from her residence, so that Defendant would not need to make

 frequent trips to her home. (Id.) Mr. Ramirez remained at Ms. Thetonia’s residence for

 five or six months. (Id. at 441.) Ms. Thetonia estimated that Mr. Ramirez distributed about

 100 grams of cocaine base through her, another 100 grams through her boyfriend, Mr.

 Ocean,8 and that the cocaine base was delivered to the residence by Defendant, and on

 occasion by Mr. Benton. (Id. at 444, 480.)

         Jeremy Hunter reported that a couple of times each week, he would also purchase

 crack cocaine directly from Defendant. (Id. at 642.) He also described occasions when he

 was with Mr. Benton, Mr. Ramirez and Defendant. (Id. at 647.) On at least one occasion

 he purchased crack cocaine from Mr. Benton with Defendant present. (Id. at 648.)




 8
  Ms. Thetonia also testified that it was possible Mr. Ocean received a lesser quantity of cocaine base than
 she did. (ECF No. 611 at 505, 511 – 12.)

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        Jeremy Ingersoll-Meserve was present in Ms. Thetonia’s residence on one or more

 occasions with both Mr. Ramirez and Defendant.             (ECF No. 612 at 718, 721.)

 Approximately a year after first dealing with Mr. Ramirez at Ms. Thetonia’s residence, Mr.

 Ingersoll-Meserve began purchasing crack cocaine directly from Defendant. (Id. at 721.)

 He often purchased crack cocaine on behalf of others, and would acquire it from Mr.

 Ramirez, Mr. Turner, or Defendant. (Id. at 720, 723.) Mr. Ingersoll-Meserve offered a

 conservative estimate that he purchased between 200 and 250 grams from Mr. Ramirez,

 between 150 and 200 grams from Mr. Turner, and between 50 and 70 grams from

 Defendant. (Id. at 736.)

        Burke Lamar also testified regarding the connections he observed between and

 among Defendant, Mr. Ramirez, Mr. Turner, and various street-level dealers, and between

 Connecticut and Maine. (ECF No. 613 at 962 – 68.) In addition, Amy Hakola testified to

 associations among several conspirators, including Defendant, Mr. Ramirez, Mr. Turner,

 and Ms. Dowling, which associations she observed at the Charles Street residence where

 she lived with Defendant throughout the relevant period. (ECF No. 636 at 48 – 56, 61, 64,

 73 – 77.)

                            STANDARD FOR GRANTING NEW TRIAL

        A criminal defendant may move for a new trial based on newly discovered evidence.

 Fed. R. Crim. P. 33(b). To obtain a new trial, a defendant must show (1) that the evidence

 in question was unknown or unavailable at the time of trial; (2) that the failure to discover

 the evidence sooner was not due to the defendant’s own lack of diligence; (3) that the

 evidence is material and not merely cumulative or impeaching; and (4) that introduction of

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 the evidence at a new trial probably would result in an acquittal. United States v.

 Maldonado-Rivera, 489 F.3d 60, 66 (1st Cir. 2007). However, if the evidence is merely

 impeachment, but the movant demonstrates that the government suppressed the evidence

 in violation of Brady v. Maryland, 373 U.S. 83 (1963), the fact the evidence is merely

 impeachment does not preclude a new trial, and the third and fourth elements of the test

 are replaced with a more lenient standard requiring only that the movant persuade the court

 that there is a reasonable probability that timely disclosure of the evidence would have

 yielded a different result at trial. United States v. Connolly, 504 F.3d 206, 212 – 13 (1st

 Cir. 2007). The lower standard is met if the evidence undermines the court’s confidence

 in the jury’s verdict. United States v. Peake, 874 F.3d 65, 69–70 (1st Cir. 2017).

        Under either approach, a court is free to weigh the evidence and evaluate the

 credibility of the witnesses at trial and the credibility of any witness whose testimony the

 movant introduces as new material evidence. United States v. Wright, 625 F.2d 1017, 1019

 (1st Cir. 1980). A court is not required to conduct an evidentiary hearing to determine the

 motion. Evidentiary hearings are the exception rather than the rule, and the court is free to

 resolve a Rule 33 motion based on “a practical, commonsense evaluation” of the record.

 Connolly, 504 F.3d at 219.

                                        DISCUSSION

        Defendant contends that because Mr. Ramirez provided more detailed information

 regarding Defendant’s involvement in the supply of drugs than the information provided

 by other witnesses, Mr. Ramirez’s trial testimony was essential to the conviction, and,

 therefore, if Defendant had the benefit of Mr. Ramirez’s statements to law enforcement in

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 Connecticut, Defendant’s impeachment of Mr. Ramirez would have, or potentially could

 have, resulted in an acquittal. (Motion at 4 – 6.) The Government concedes that Defendant

 has satisfied the first two elements of the Rule 33 standard (i.e., that the evidence was

 unknown or unavailable at the time of the trial, and that Defendant was not dilatory in

 discovering the evidence), but argues that the evidence goes solely to impeachment, does

 not meet the materiality element, and does not undermine confidence in the conviction.

 (Gov’t Objection, ECF No. 721, at 1, 12 – 14.)

        A review of the record reveals that Defendant’s argument is unpersuasive. First,

 Mr. Ramirez’s statements to Connecticut law enforcement in 2017 do not constitute

 exculpatory evidence. Rather, the statements attributed to him would tend to impeach his

 credibility.   Second, because Mr. Ramirez did not make the statements until after

 Defendant’s trial, there is no Brady violation. Third, the statement concerns a collateral

 matter - a homicide investigation in Connecticut. The fact that Mr. Ramirez might have

 been untruthful in that homicide investigation does not bear directly on the accuracy of the

 testimony he provided regarding the Maine-based drug distribution conspiracy. Indeed,

 Mr. Ramirez explicitly stated that Defendant was not involved in the Connecticut

 homicide.      Fourth, Mr. Ramirez’s post-trial statement regarding the Maine drug

 distribution activity was consistent with his trial testimony. Fifth, the impeachment

 evidence is cumulative. At trial, during his cross examination, Mr. Ramirez testified that

 he had been untruthful with law enforcement on multiple occasions, and that he was

 testifying with the hope of lenient treatment by the Government. The record, therefore,

 does not support a finding that an additional instance of untruthfulness would have altered

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 the jury’s determination.     Sixth, Mr. Ramirez’s testimony concerning Defendant’s

 involvement in the drug distribution conspiracy was corroborated by several witnesses who

 participated in the conspiracy or aided the conspirators through drug trafficking activity.

 The testimony of Ms. Dowling, Ms. Hakola, Mr. Hunter, Mr. Ingersoll-Meserve, Mr.

 Lamar, and Ms. Thetonia supported both the conviction and the determination that the drug

 quantity was 280 grams or more.

        In sum, Defendant has failed to establish that Mr. Ramirez’s post-trial statements

 warrant a new trial.

                                         CONCLUSION

        Based on the foregoing analysis, I recommend the Court deny Defendant’s Motion

 for New Trial and for Indicative Ruling. (ECF No. 719.)

                                           NOTICE

               A party may file objections to those specified portions of a magistrate
        judge’s report or proposed findings or recommended decisions entered
        pursuant to 28 U.S.C. 636(b)(1)(B) for which de novo review by the district
        court is sought, together with a supporting memorandum, within fourteen
        (14) days of being served with a copy thereof. A responsive memorandum
        shall be filed within fourteen (14) days after the filing of the objection.

               Failure to file a timely objection shall constitute a waiver of the right
        to de novo review by the district court and to appeal the district court's order.

                                                    /s/ John C. Nivison
                                                    U.S. Magistrate Judge

        Dated this 22nd day of February, 2018.




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